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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

SEAN M. YOUNG,

        Plaintiff,
                                                     Case No. 20-cv-359-bbc
   v.

MAKDA FESSAHAYE, DOUGLAS G. PERCY,
L. WEBER, GARY BOUGHTON, JAEGER, E.
RAY, M. LARSON, MARK KARTMAN,
LARRY BROWN, LACEY L. DICKMAN,
BRINKMAN, COLLINS, HULCE,
SCULLION, THOMAS TAYLOR,
BEN TIERNEY, BLOYER, SHAUN FUNK,
WARD JR., CHAD WINGER, KEITH
WIEGEL, SHAWN GALLINGER, FEDIE JR.,
KIMBERLY FINNELL, MARLESHA
FISHNICK, DR. A. SIMCOX, DR. HEATHER
SCHWENN, DR. STACEY HOEM, ANGELA
MINK, DR. A. IBIROGBA, DR. RIBAULT,
JAMIE ADAMS, SHERYL KINYON, PEGGY
KINNEY, MICHAEL KEMERLING, JULIA
PINZ, and LEBBEUS BROWN,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.




        /s/                                             9/30/2021
        Peter Oppeneer, Clerk of Court                        Date
